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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLI

   

PRO SE (NON PRISONER)
AUTHORIZATION FORM TO RECEIVE DOCUMENTS ELECTRONICAL

Pursuant to Fed. R. Civ. P. 5(b), Fed. R. Civ. P. 77(d), and Local Civil Rule 5.3(b)(2), documents may
be served through the Court’s transmission facilities by electronic means. Documents that are not permitted to
be served electronically are pleadings that are to be served with process under Fed. R. Civ. P. 4.

| Lola Salamah hereby consent to receive service of documents and
notices of electronic filing (NEFs) via the Court's Electronic Filing System to the extent and in the manner
authorized by the above rules and waive the right to receive notice by first class mail pursuant to Fed. R. Civ. P.
5(b)(2)(D) and Fed. R. Civ. P. 77(d). 1 will promptly notify the Court in writing if there is a change in my
personal data, such as name, address, telephone number and/or e-mail address. | will also promptly notify the
Court in writing of my request to cancel this electronic service. | understand that this authorization to receive
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Pro se parties who have consented to receive documents electronically will be sent a Notice of Electronic
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notice was sent. After the “free look” is used or expires, the document can only be accessed through PACER
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visiting the PACER web site at https://pacer.gov. PACER will allow an individual to view, print, and download
documents for a fee. Parties can also obtain records through PACER, without setting up an account, by accessing
the public terminals located in the Clerk’s Office. Parties are able to view documents for free; however, any
printing of documents will incur a fee.

 

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My e-mail address is:

. 2018-cv-01045 3
My case number is: (One case number per Authorization Form)

Ye SMM

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Date

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